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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
                                                    271 Cadman Plaza East
                                                    Brooklyn, New York 11201


                                                    September 6, 2023

  By ECF

  The Honorable Sanket J. Bulsara
  United States Magistrate Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

                Re:     LoCurto v. United States, 10-CV-4589 (NGG) (SJB)
                        Related to United States v. LoCurto, 03-CR-1382 (NGG)

  Dear Judge Bulsara:

                 The government respectfully submits this letter setting forth its final list of
  proposed witnesses at the evidentiary hearing scheduled in the above-captioned case. The
  government intends to call Harry Batchelder, Esq., and, with the Court’s permission, will
  make arrangements for Mr. Batchelder to testify at the hearing remotely from a federal
  building in the District of New Hampshire. In addition, depending on the defendant-
  petitioner’s presentation of evidence, the government may call Special Agent Joseph Costello
  of the Federal Bureau of Investigation as a witness.

                 At the upcoming hearing, the government will seek to admit materials filed on
  the above-captioned docket, as well as transcripts and other information filed on the dockets
  of the following cases in the United States Court of the Eastern District of New York:
  United States v. Urso, et al., 03-CR-1382 (S-1) (NGG), United States v. LoCurto, et al., 00-
  CR-146 (RR), and United States v. LoCurto, et al., 02-CR-307 (NGG). See ECF Docket
  Entry No. 171 (enclosing proposed stipulation referencing approximately eighty exhibits).
  The government does not intend to call a witness from the Clerk’s Office in order to admit
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  these materials. To the extent that counsel for Mr. LoCurto objects to the admission of these
  materials, the government requests that counsel make such objection in sufficient time for the
  Court to rule on their admissibility prior to the hearing.


                                                    Respectfully submitted,

                                                    BREON PEACE
                                                    United States Attorney

                                             By:     /s/
                                                    M. Kristin Mace
                                                    Tanya Hajjar
                                                    Andrew Roddin
                                                    Assistant U.S. Attorneys
                                                    (718) 254-7000

  cc:    Counsel for the defendant-petitioner (by ECF and email)




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